                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 EIGHT MILE STYLE, LLC; MARTIN
 AFFILIATED, LLC,
                        Plaintiffs,
                                                     Case No. 3:19-cv-00736
 vs.
                                                     District Judge Aleta A. Trauger
 SPOTIFY USA INC.; HARRY FOX
 AGENCY, LLC,                                        JURY DEMAND

                                Defendants.

 vs.

 KOBALT MUSIC PUBLISHING AMERICA,
 INC.,

                  Third-Party Defendant.




       TWELFTH AMENDED PROPOSED INITIAL CASE MANAGEMENT ORDER



        Pursuant to LR 16.01(f), the Parties submit the following Twelfth Amended Proposed

Initial Case Management Order. This Twelfth Amended Proposed Initial Case Management Order

shall supersede the Eleventh Initial Case Management Order entered on June 8, 2022 (Doc. 261).

The Parties propose extending the dates contained in the Eleventh Initial Case Management Order

to those listed below to allow additional time for the Parties to complete expert discovery and

dispositive motions practice.

        A.     JURISDICTION: This Court has subject matter jurisdiction pursuant to 28 U.S.C.

§§ 1331 and 1338(a). On April 2, 2020, the Court issued an Order (Doc. 81) and accompanying

Memorandum (Doc. 80) denying Spotify USA Inc.’s Motion to Dismiss for Lack of Personal

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Jurisdiction and Improper Venue or, In the Alternative, to Transfer Venue to the Southern District

of New York (the “Motion to Dismiss”). Spotify USA Inc. (“Spotify”) continues to dispute the

existence of personal jurisdiction and reserves all rights with respect to the Court’s Order denying

its Motion to Dismiss. By submitting this Amended Proposed Initial Case Management Order in

accordance with Local Rule 16.01(f), Spotify does not waive and hereby preserves its personal

jurisdiction defense.

       B.    BRIEF THEORIES OF THE PARTIES:

       1.      PLAINTIFFS: Plaintiff’s allegations are set out in detail in the First Amended

Complaint. To summarize, this is an action for willful copyright infringement brought by Plaintiff

Eight Mile Style, LLC and Martin Affiliated, LLC (“Eight Mile” or “Plaintiff”), who own and

control musical compositions written in whole or in part by Marshall Mathers p/k/a Eminem,

against Defendant Spotify USA Inc. (“Spotify”) for its unauthorized use of the musical

compositions listed in Exhibit A to the First Amended Complaint (the “Eight Mile

Compositions”). To stream the Eight Mile Compositions, Spotify, as an interactive streaming

company, must have a direct mechanical license in place prior to distribution, or a compulsory

license through what is called a Notice of Intent (“NOI”) to obtain a compulsory license before or

within thirty days after making, and before distribution of any phonorecord of an Eight Mile

Composition. Streaming the Eight Mile Compositions without the appropriate license in place

constitutes copyright infringement.

       This is also an action for contributory copyright infringement and vicarious copyright

infringement against the Harry Fox Agency (“HFA”). As set out in detail in the First Amended

Complaint, HFA is liable for contributory copyright infringement because at all times, it had

knowledge of, or had reason to know, of Spotify’s direct infringement of the Eight Mile



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Compositions, and materially contributed to Spotify’s direct infringement in several ways. HFA

sent out knowingly fraudulent “royalty statements,” which HFA knew were woefully incomplete

and inaccurate, in order to lead Eight Mile into believing that the Eight Mile Compositions were

licensed when HFA knew that they were not. They in fact had placed Eight Mile Compositions in

a category it calls “copyright control,” which is a designation meant for musical compositions

whose publisher or copyright administrator is unknown so that the works cannot be licensed. In

fact, however, HFA and Spotify knew very well who controlled the Eight Mile Compositions as

HFA had corresponded with Plaintiffs directly. This sending of these false and fraudulent royalty

statements were part of a scheme to commit and cover up copyright infringement perpetrated by

HFA and its principal Spotify. As further part of this scheme, HFA sent out knowingly backdated

NOIs that it knew to be ineffective to further lead Eight Mile and others into believing that Spotify

had effective compulsory licenses in place for the Eight Mile Compositions. By taking these

actions, and others alleged in the First Amended Complaint, HFA materially contributed to

Spotify’s direct infringement of the Eight Mile Compositions and ensured that this direct

infringement by Spotify would continue. HFA is therefore liable for contributory copyright

infringement.

       HFA is also liable for vicarious copyright infringement. Throughout Spotify’s

infringement of the Eight Mile Compositions, HFA maintained the right and ability to supervise

the infringing activity and had the ability to prevent or limit the infringing activity from occurring.

It also had a financial interest in the infringement. At any time during the ongoing infringement of

the Eight Mile Compositions, HFA could have sought a direct licensing agreement for the Eight

Mile Compositions, or refused to participate in Spotify’s scheme by refusing to send purported but

fraudulent “royalty statements” and backdated fraudulent NOIs. Instead, it participated in these




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fraudulent acts in exchange for monetary compensation from Spotify. HFA enjoyed a direct

financial benefit from Spotify’s infringement of the Eight Mile Compositions by receiving

monetary compensation for its supervision of the infringing activities and its cooperation with

Spotify. HFA is therefore liable for vicarious copyright infringement.

       For each of the Eight Mile Compositions, Spotify failed to obtain any required license to

make server copies, or licenses to reproduce or distribute the compositions. Spotify instead acted

deceptively by pretending to have a license to distribute the Eight Mile Compositions. Spotify

instructed its agent, HFA, to send purported “royalty statements” out, when Spotify and HFA knew

the compositions were not licensed. This was done to lead Plaintiff into believing the songs were

licensed and Eight Mile was being paid properly. The Eight Mile Compositions were streamed on

Spotify billions of times. Spotify, however, has not accounted to Eight Mile for these streams and

only submitted random payments, which only purport to account for a fraction of the actual streams

on some of the Eight Mile Compositions. Spotify reproduced and distributed the Eight Mile

Compositions knowing they were not licensed, thereby committing willful copyright

infringement. HFA materially contributed to this infringement and willfully maintained the right

and ability to supervise the infringing activity. As discussed below, Spotify, through HFA, also

recently began sending random, untimely and ineffective NOI’s to Eight Mile.

       NOI’s must be sent before a musical composition streams in order to obtain an effective

compulsory license to stream the composition. For some of the Eight Mile Compositions,

Defendants have sent untimely and ineffective NOI’s, which is a clear indication that it knows the

musical compositions were not licensed. Indeed, some of the untimely NOIs recently received

indicate an expected first date of distribution many years before the NOI’s were sent. Sending an

NOI after the work is distributed renders the NOI ineffective. Thus, despite Defendants’ belated




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attempts to act as if some of the Eight Mile Compositions were licensed, the untimely NOIs were

ineffective. This also appears to be a wholly transparent attempt to deceive Eight Mile into

believing the Eight Mile Compositions were licensed when they were not.

        While Spotify did not license the Eight Mile Compositions and properly pay Plaintiff for

the streams on its service, Spotify gained the financial benefit of tens of millions of Eminem fans

becoming Spotify users and subscribers. The value of these subscribers and the market share they

brought to Spotify has been realized by Spotify in its fundraising activities exceeding $2.5 billion

and in its stock market cap of more than $50 billion. This was all done at the detriment to Plaintiff

and others similarly situated. Eight Mile is seeking in this action the maximum amount in statutory

damages for willful infringement of each Eight Mile Composition totaling approximately $37

million, or in the alternative, damages, including profits attributable to the infringement, which

will be the subject of expert reports, but could easily be in the hundreds of millions of dollars.

        Eight Mile expects that Spotify will attempt to rely on The Music Modernization Act of

2018 (the “MMA”) as a means to limit Eight Mile’s damages to only the alleged “royalties” it

would have received for the streaming of the Eight Mile Compositions had Spotify not engaged in

willful copyright infringement. As set forth in the First Amended Complaint, however, it is Eight

Mile’s position that Spotify has not met the requirements of the MMA to enjoy that limitation of

liability. The many ways in which Spotify failed to meet the requirements of the MMA are set

forth in detail in the First Amended Complaint, and those allegations are incorporated herein by

reference. Eight Mile expects that HFA will also attempt to rely on the MMA safe harbor

provisions. HFA, however is not entitled to any MMA protection for the same reasons that Spotify

is not entitled to such protection, and for other reasons that will be addressed at the appropriate

time.




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        In addition, as also set forth in the First Amended Complaint, the MMA’s retroactive

elimination (to a qualifying digital music provider such as Spotify) of the right of a plaintiff to

receive profits attributable to infringement, statutory damages, and attorneys’ fees, is an

unconstitutional denial of due process (both procedural and substantive), and an unconstitutional

taking of vested property rights. Again, this point is alleged in detail in the First Amended

Complaint, and Eight Mile refers the Court to those allegations. This constitutional question only

becomes relevant, however, if Spotify is able to show that it qualifies under the MMA for the

conditional limitation of liability provided for by the MMA (which Eight Mile respectfully states

it cannot).

        Spotify incorrectly claims that Eight Mile did not own and control exclusive rights for

licensing of the Eight Mile Compositions, and that Eight Mile relied on agents, such as Kobalt, to

administer its mechanical licensing in the United States. Spotify is once again wrong. Eight Mile

does indeed own and exclusively control the administration and licensing rights for the Eight Mile

Compositions, including any mechanical reproduction rights and licenses for digital or interactive

streaming in the United States. The fact that Eight Mile has agreements with other parties to assist

in the administration does not in any way demonstrate that Eight Mile does not control exclusive

rights for administration and licensing of the Eight Mile Compositions. As set forth in the First

Amended Complaint, Eight Mile has entered into an agreement with Kobalt for the collection of

income. (Doc. 97 at p. 17). Martin Affiliated has a further agreement with Bridgeport Music (for

whom Martin Affiliated exclusively administrates) to uses its accounting services to process

payments and to pay various songwriters, including for the Eight Mile Compositions. Joel Martin

represents exclusively Bridgeport Music and Eight Mile, and is the contact person for both.




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       Spotify also says that in 2016, Kobalt entered a contract with Spotify, supposedly granting

Spotify a mechanical license to any composition Kobalt owns, controls, or administers—including

the Eight Mile Compositions at issue. However, Spotify fails to mention that in 2016 Kobalt did

not own, control, or administer the licensing rights for the Eight Mile Compositions, and that the

contract Spotify relies on provides specifically that it only covers those compositions that Kobalt

owns or controls or administrates. See Kobalt theory of the case herein. Further, Spotify also fails

to mention that in 2013, Spotify’s agent, HFA, had specifically asked Kobalt, and Kobalt had

notified them in writing in response, that Kobalt does not administer the Eight Mile Compositions,

and they should contact Bridgeport Music with any licensing inquiries. Neither Spotify nor HFA

did so. Spotify therefore knew as far back as 2013 that any blanket license Kobalt may have entered

would not cover the Eight Mile Compositions, and that Spotify could not rely on a new agreement

with Kobalt to purportedly obtain the necessary licenses. Instead, neither HFA nor Spotify ever

reached out to Mr. Martin, (on behalf of Martin Affiliated or Bridgeport as Kobalt suggested) to

make any inquiry whatsoever (knowing that it was too late for a compulsory license), but instead

simply continued willfully infringing. Spotify and HFA cannot claim they did not know who to

contact for another reason: in 2010, HFA corresponded directly with Plaintiffs about “Lose

Yourself” and another Eight Mile Composition, meaning that HFA and Spotify knew exactly who

to contact with respect to licensing and other questions concerning the Eight Mile Compositions.

As Spotify’s agent, the knowledge of HFA is imputed to Spotify.

       Next, Spotify claims that if Eight Mile had the exclusive authority to license the Eight Mile

Compositions, it would know whether licenses were in place and could not be deceived. Spotify

absurdly states that Eight Mile could not receive royalties and not know whether the Eight Mile

Compositions were licensed. Yet, as set forth above, this case is filled with Spotify’s deception




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surrounding NOIs and royalty statements including, but not limited to, the sending of untimely

compulsory licenses that were literally back dated to make them appear to have been issued timely.

Spotify’s actions represent an admission that it was not licensed and has committed willful

copyright infringement. Spotify’s attempt to somehow shift fault onto Eight Mile completely fails.

       Next, Spotify incorrectly claims that Eight Mile’s acceptance of “royalty payments from

Spotify for streams and downloads” somehow is relevant. It is not. Eight Mile did not receive

payments from Spotify, but instead receives one payment from Kobalt per quarter that is

comingled with all payments for various parties, and from all distributors making payments

relevant to many different writers and other parties in a given accounting period. It would be

virtually impossible for Eight Mile to have segregated out the Spotify portion of a single lump sum

deposit from potentially hundreds or more of payors. Furthermore, as noted above, Eight Mile did

not have reason to assume that Spotify did not obtain an effective compulsory license, and Spotify

and HFA acted to deceive Eight Mile into believing that it did. Finally, Spotify did not pay at all

on many of the Eight Mile Compositions. Spotify’s fraud and bad faith is in fact staggering in

scale, and Eight Mile’s acceptance of payment from multiple sources relevant to numerous parties

under these circumstances does not provide any defense to Spotify. Eight Mile simply had no

intention to allow Spotify to copy and distribute the Eight Mile Compositions on the Spotify

platform without a proper license and proper payment.

       Finally, Spotify asserts with great fanfare that since launching its service, they have paid

over $16 billion to rightsholders. Absent, however, from Spotify’s statement is the fact that Spotify

also gave billions of dollars in Spotify stock to key rightsholders. Yet, Spotify disingenuously and

sarcastically characterizes Eight Mile’s damages claim for the value of equity as being “over-the-

top” and supposedly having no basis in law or fact.




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       Finally, Plaintiff objects to HFA’s statement about jurisdiction and venue. If HFA brings

a motion to dismiss on personal jurisdiction or venue grounds, Plaintiff will respond at the

appropriate time. This Court, however, has extensively addressed jurisdiction and venue. Given

the Court’s findings on jurisdiction and venue and HFA’s substantial involvement in the actions

giving rise to this case, HFA cannot claim the exercise of this Court’s jurisdiction is unreasonable

or unfair. HFA materially contributed to the infringing activities directed at Tennessee residents

and the infringement of the Eight Mile Compositions in Tennessee through the scheme described

in detail in the First Amended Complaint. There also is no “safe harbor” that protects HFA for

their wrongdoing.

       2.      DEFENDANT AND THIRD-PARTY PLAINTIFF SPOTIFY:                                    Spotify

categorically denies Eight Mile’s factual allegations and claim of copyright infringement. Spotify

is the leading global digital streaming service, currently operating in 79 markets, with 271 million

monthly active users and over 50 million tracks. Built to reverse the trend of music piracy which

grew out of the Internet file-sharing platforms that were rampant in the early 2000s and to provide

fair compensation for artists, Spotify allows users to stream music and other content on demand

over the Internet and through mobile applications on various devices. Spotify expends tremendous

effort and resources to ensure that the various rights in any given track made available on its service

are properly licensed and that rightsholders are appropriately compensated. Since launching the

service, Spotify has paid over $16 billion to rightsholders.

       At issue in this case are 243 musical compositions (the “Compositions”) most of which

were written (or co-written) by recording artist Eminem. Plaintiffs allege that these compositions

are embodied in some number of sound recordings available for streaming through Spotify’s

service. This is not an action by or on behalf of Eminem or his direct representatives. Rather, this




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action was commenced in August 2019, more than eight years after Spotify’s launch in the US, by

two Michigan business entities (collectively “Eight Mile”) who acquired a portion of the rights to

musical compositions that Eminem wrote.

       Eight Mile claims (spuriously) that Spotify failed to acquire “mechanical” licenses

necessary to reproduce and distribute the Compositions at issue—licenses which can be acquired

without the owner’s consent through a statutory compulsory license and statutory royalty rate

regime enacted more than a century ago to ensure the availability of musical works to the public

after they are released. A statutory license allows digital service providers such as Spotify to pay

a uniform rate per stream—and is distinguished from the statutory damages that Eight Mile seeks

of up to $150,000 per work at issue. Eight Mile also claims (also spuriously) that Spotify and co-

defendant Harry Fox Agency (“HFA”) undertook a “fraudulent scheme” to “conceal” this failure

from Eight Mile as well as from third-party defendant Kobalt Music Services America Inc.

(“Kobalt”), the entity to which Eight Mile admits it conveyed rights involving the Compositions.

       It is uncontested by both Eight Mile and Kobalt that, for almost a decade leading up to this

lawsuit, Eight Mile collected royalty payments from Spotify for streams and downloads of sound

recordings embodying the very Compositions it now claims were never properly licensed by

Spotify. Despite alleging in its Complaint that it possessed exclusive licensing authority for the

Compositions and never exercised that authority to grant Spotify a license, Eight Mile never

questioned its regular receipt of mechanical royalties from Spotify. Eight Mile’s claim that it was

somehow “deceive[d]” into falsely believing that the Compositions were licensed does not square

with even its own allegations. If, as Eight Mile now contends, only Eight Mile had the authority

to license the Compositions, Eight Mile would know whether such licenses were in place, and

therefore could not have been deceived. In other words, Eight Mile could not collect royalties on




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the Compositions from Spotify and at the same time not know whether the Compositions were

licensed to Spotify.

        Moreover, Eight Mile was not the exclusive licensor of the Compositions and relied on

agents, such as Kobalt, to administer its mechanical licensing in the US. Kobalt, for example,

acknowledges that it both received numerous NOIs on Eight Mile’s behalf, as part of the process

by which Spotify obtained compulsory mechanical licenses to Eight Mile Compositions, and

claimed many of those Compositions in connection with a settlement and release with Spotify.

And in 2016, Kobalt executed a contract granting Spotify a mechanical license to any composition

Kobalt owns, controls, or administers—including the Compositions at issue. Kobalt further agreed

to indemnify Spotify for any third party claims relating to allegations like those asserted by Eight

Mile here. Kobalt cannot escape its representations and obligations to Spotify by trying to shift

the focus onto Bridgeport Music, an entity that Kobalt claims was Eight Mile’s licensing

administrator but is not even mentioned in Eight Mile’s Amended Complaint and is only described

by Eight Mile herein as providing an “accounting service[].”

       In short, this case is the culmination of a cynical strategy by Eight Mile to simultaneously

reap the benefits of Spotify’s streaming service while reserving the ability to claim that Spotify

was willfully infringing Eight Mile’s purported copyrights the entire time. Eight Mile goes so far

as to seek, as damages, the value of an equity interest in Spotify. That over-the-top damages theory

has absolutely no basis in law or fact. The Compositions were made available on Spotify’s service

because of conduct and representations by and on behalf of Eight Mile, and Eight Mile cannot now

invent a theory of damages that would—yet again—allow it to exploit the hard work of others.

       Congress recently passed legislation to protect companies like Spotify from precisely the

type of infringement claims made here. The Music Modernization Act (“MMA”) significantly




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restricts the recovery available to copyright claimants who, like Eight Mile, sue digital streaming

services on or after January 1, 2018. Specifically, the MMA makes statutorily prescribed royalties

Eight Mile’s “sole and exclusive” remedy provided Spotify meets certain requirements following

the MMA’s enactment in October 2018. Spotify met those requirements. Eight Mile is accordingly

not entitled to any damages, much less the pie-in-the sky numbers it seeks.

       3.      DEFENDANT HFA: HFA is not a proper party to this action and intends to move

to dismiss the Amended Complaint on jurisdictional, improper venue, and substantive legal

grounds. In addition to the fact that this Court has neither general nor specific jurisdiction over

HFA pursuant to well-established standards, the allegations of the Amended Complaint are entirely

insufficient to establish any theory of liability against HFA. In any event, HFA expressly denies

any wrongdoing, and its position in this matter further entitles it to invoke the "safe harbor"

provisions of the Music Modernization Act, 17 U.S.C. §§ 115(d)(10), et seq., among other

defenses. As HFA's investigation is ongoing and its response to the Amended Complaint is not

due until September 14, 2020, it reserves the right to supplement its theory of the case and its

defenses.

       4.      THIRD-PARTY DEFENDANT KOBALT: The positions of third-party

Defendant are set forth more fully in the Answer to the third-party Complaint filed by Defendant

Spotify. In brief, beginning in February 2011 and continuing through the present, Kobalt, acting

as a U.S. collection agent but not the U.S. administrator for the Compositions, has collected and

remitted to Eight Mile’s copyright administrator, Bridgeport Music, Inc. (“Bridgeport”), payments

from Spotify in connection with Spotify’s streaming of the Compositions.

       Spotify’s agent, HFA, knew at all relevant times since at least August 2013, and

acknowledged to Kobalt in writing not later than 2015, that Kobalt was not the licensor of the




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Compositions. In fact, HFA worked with Kobalt to correct HFA’s records to reflect that Kobalt

was, at all relevant times, merely a collecting agent for Bridgeport, not a licensor of the

Compositions. Kobalt did receive NOI’s from HFA with respect to one or more of the

Compositions, and consistent with the custom and practice of large music publishers, neither

accepted nor rejected the same. As noted above, Kobalt passively accepted payments from Spotify

in respect of the Compositions, and accounted to Bridgeport for such payments as Kobalt was

authorized and required to do under its agreement with Bridgeport.

       Kobalt denies that it licensed Spotify to reproduce and distribute the Compositions at any

time after February 2011, or that it had the authority to do so, and denies that Kobalt in any way

led Spotify to believe otherwise. Specifically with respect to the 2016 mechanical license

agreement referenced above by Spotify, Kobalt denies that Kobalt granted any U.S. licenses to

Spotify for the Compositions under that agreement, and denies that it represented that Spotify’s

use of the Compositions would not infringe any third party’s rights with respect to the

Compositions.

       With respect to the “settlement and release” referenced above by Spotify, Kobalt did not

own, control or administer the Compositions for the U.S. or Canada at the time of that agreement,

but again merely served as a collecting agent for Bridgeport. Kobalt did not have the authority to

grant a release to Spotify with respect to the Compositions, and did not do so. The release in that

agreement provides that such release extends solely to works “owned administered or controlled”

by Kobalt. Kobalt did not own, administer or control the Compositions at that time (a fact

acknowledged by HFA in 2013 and thereafter), therefore the release in the referenced agreement

does not, by its own terms, release any claim Eight Mile may have against Spotify. In August 2019,




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Eight Mile asked Kobalt to refrain from accepting further payments from Spotify with respect to

the Compositions.

         C.     ISSUES RESOLVED:

                •    Subject Matter Jurisdiction

                •    Personal Jurisdiction (resolved over Spotify’s objection)

                •    Venue (resolved over Spotify’s objection)

         D.     ISSUES STILL IN DISPUTE:

                •    Liability and Damages

         E.     HFA’S ANSWER:

         HFA’s answer or other response shall be due by October 14, 2020. HFA’s participation in

mediation is without prejudice to its defenses, including those set forth in FRCP 12(b), and is not

a waiver of its jurisdictional or venue defenses. HFA will not seek a stay of the action against it

pending decision on any such motions it may file asserting those defenses.

         F.     INITIAL DISCLOSURES: The parties shall exchange initial disclosures pursuant

to FED. R. CIV. P. 26(a)(1) on or before 14 days from the entry of the case management order.

         G.     DISCOVERY:

                a.      Discovery is not stayed during dispositive motions, unless ordered by the

Court.

                b.      Pre-trial proceedings, including discovery, shall be bifurcated between (1)

liability and the MMA and (2) damages. All discovery related to damages shall be stayed until the

Court resolves dispositive motions related to liability and the MMA, and shall not commence

unless claims remain following such resolution.




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                c.     The parties shall depose all fact witnesses relating to liability by Friday,

July 15, 2022. The parties shall serve all written discovery (interrogatories and requests for

admission) by Friday, July 15, 2022. The parties shall complete all such written discovery by

Monday, August 15, 2022. Plaintiffs, Spotify, and Kobalt shall reach agreement on ESI custodians

and search terms relating to liability by February 3, 2021, and those parties shall reach agreement

on ESI custodians and search terms relating to liability with HFA by February 17, 2021. The parties

shall substantially complete the production of documents relating to liability by April 30, 2021. 1

Fact witness depositions shall not commence until after the parties substantially complete

document productions concerning liability.

                d.     Local Rule 33.01(b) is expanded to allow 40 interrogatories, including

subparts. No motions concerning discovery are to be filed until after the parties have conferred in

good faith and, unable to resolve their differences, have scheduled and participated in a conference

telephone call with Judge Trauger.

        H.      MOTIONS TO AMEND: The parties shall file all Motions to Amend on or before

90 days after the Court’s Order denying Spotify’s Motion to Dismiss (or on before July 1, 2020).

Should it decide to join Kobalt as a party, Spotify shall do so no later than June 1, 2020. Should

they decide to join HFA as a party, Plaintiffs shall do so no later than July 1, 2020.

        I.      DISCLOSURE OF EXPERTS:

             a. As Between Plaintiffs and Defendants

        Plaintiffs and Defendants shall identify and disclose initial expert witnesses and expert

reports regarding liability-related issues on or before Monday September 12, 2022. Plaintiffs and



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        The Court previously granted a 30-day extension of the deadline for substantial completion of
document production to January 29, 2021 (Dkt. No. 146) and a 60-day extension of the deadline for
substantial completion of document production to March 30, 2021 (Dkt. No. 149).


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Defendants shall disclose rebuttal expert reports regarding liability-related issues on or before

Friday, October 21, 2022. Plaintiffs and Defendants shall disclose reply expert reports regarding

liability-related issues on or before Wednesday, November 23, 2022.

            b. As Between Counter-Plaintiff and Third-Party Defendant

       Counter-Plaintiff and Third-Party Defendant shall identify and disclose initial expert

witnesses and expert reports regarding liability-related issues on or before Monday, September 12,

2022. Counter-Plaintiff and Third-Party Defendant shall disclose rebuttal expert reports regarding

liability-related issues on or before Friday, October 21, 2022. Counter-Plaintiff and Third-Party

Defendant shall disclose reply expert reports regarding liability-related issues on or before

Wednesday, November 23, 2022.

       J.      DEPOSITIONS OF EXPERT WITNESSES:                    The parties shall depose all

liability-related expert witnesses by Wednesday, May 31, 2023.

       K.      JOINT MEDIATION REPORT: The parties shall file a joint mediation report

on or before Monday, September 12, 2022.

       L.      DISPOSITIVE MOTIONS:             The parties shall file all dispositive motions

regarding liability and the MMA, including issues related to the constitutionality of the MMA, on

or before Friday, October 13, 2023. Responses to dispositive motions regarding liability shall be

filed on or before December 15, 2023. Optional replies may be filed on or before January 31, 2024.

The parties anticipate jointly seeking the Court’s approval for an agreed-upon enlargement of the

20-page allotment for dispositive motion briefs given the number of issues that may be involved

in their respective motions for summary judgment. No motion for partial summary judgment shall

be filed except upon leave of court. Any party wishing to file such a motion shall first file a




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separate motion that gives the justification for filing a partial summary judgment motion in terms

of overall economy of time and expense for the parties, counsel, and the Court.

       M.        ELECTRONIC DISCOVERY: The Parties will be in discussion regarding

electronic discovery and hope to reach an agreement on how to conduct electronic discovery and

file a joint motion for entry of the Stipulated Order Regarding Discovery of ESI. In the absence

of an agreement, the default standards of Administrative Order No. 174-1 will apply. Any

agreement between the parties to address the topics provided by Administrative Order No. 174-1

must be reduced to writing, signed by counsel, and either filed as a stipulation of agreed-upon

electronic discovery procedures, or, if the parties request court approval, submitted as a proposed

agreed order with an accompanying motion for approval.

       N.        ESTIMATED TRIAL TIME: The parties expect the trial to last approximately

ten (10) days.


It is so ORDERED.

                                                           _______________________________
                                                           ALETA A. TRAUGER
                                                           U.S. District Judge




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APPROVED FOR ENTRY:


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